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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

FRANCES MARTINEZ o/b/o                          §
ROSEMARY MARQUEZ (dec’d),                       §
         Plaintiff,                             §
                                                §
                                                §    Civil Action No. 3:19-CV-1904-B-BH
                                                §
ANDREW SAUL,                                    §
COMMISSIONER OF SOCIAL                          §
SECURITY ADMINISTRATION,                        §
          Defendant.                            §

             ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

       After reviewing all relevant matters of record in this case, including the Findings, Conclu-

sions, and Recommendation of the United States Magistrate Judge and any objections thereto, in

accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the

Findings and Conclusions of the Magistrate Judge are correct and they are accepted as the Findings

and Conclusions of the Court.

       By separate judgment, the decision of the Commissioner will be REVERSED in part, and

REMANDED for further proceedings.

       SO ORDERED on this 15th day of September, 2020.



                                             _________________________________
                                             JANE J. BOYLE
                                             UNITED STATES DISTRICT JUDGE
